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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b) BAILEY GLASSER LLP
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 COOLEY LLP                                        Thomas B. Bennett (admitted pro hac vice)
 Cullen D. Speckhart (admitted pro hac vice)       Kevin W. Barrett (admitted pro hac vice)
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 Proposed Local Counsel to
 the Official Committee of Talc Claimants II
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 In re:                                                 Chapter 11

 LTL MANAGEMENT LLC,                                    Case No.: 21-30589 (MBK)

                          Debtor.                       Honorable Michael B. Kaplan



                             ORDER FOR ADMISSION PRO HAC VICE

          The relief set forth on the following page is ORDERED.




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         This matter having been brought before the Court on application for an Order For Admission Pro
Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state attorney, and
considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R. 101.1 and D.N.J. LBR 9010-1,
and good cause having been shown; it is

         ORDERED that Ian Shapiro be permitted to appear pro hac vice; provided that pursuant to D.N.J.
L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed promptly by a member of the bar
of this Court upon whom all notices, orders and pleadings may be served, and who shall promptly notify
the out-of-state attorney of their receipt. Only an attorney at law of this Court may file papers, enter
appearances for parties, sign stipulations, or sign and receive payments on judgments, decrees or orders,
and it is further

         ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
Protection for payment of the annual fee, for this year and for any year in which the out of-state attorney
continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the entry
of this Order, and it is further

         ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice admission
to the District Court for the District of New Jersey shall also be payable within twenty (20) days of entry
of this Order. Payment in the form of a check must be payable to “Clerk, USDC” and forwarded to the
Clerk of the United States District Court for the District of New Jersey at the following address:

                                         United States District Court
                                           District of New Jersey
                                   Martin Luther King, Jr. Federal Building
                                              50 Walnut Street
                                            Newark, N.J. 07102
                                    Attention: Pro Hac Vice Admissions

         and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for the
District of New Jersey; and it is further

         ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
Lawyers’ Fund for Client Protection within 5 days of its date of entry.




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